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Certified Mail®/Return Receipt (PS Form 3811) No.: 7019 2970 0000 4676 8408




              Exhibit A:
           Incident Report
                     #20006117




Complaint Within the Admiralty   Page   1   of 18        Friday, May 22, 2020
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Event Info
 Case Status              Date
SUSPENDED/CLOSED          02/20/2020

Date Reported             Time Reported            Time Dispatched         Time Arrived        Time Completed
02/20/2020                20.51                    20:52                   20 52               21:08
Addr. of 0cc,                                                   State      County    City               Zipcode
201 SAN MARCOS SPRINGS DR (Meadows Center)                    TX           HAYS      SAN MARCOS             78666
Date 0cc. Range                        Time 0cc. Range          District                       Grid
02/20/2020 02/20/2020                  20:51   20:5 1           SAN MARCOS CAMPUS              North East
Sub-Grid                                           Beat         Shift      How Reported
SPRING LAKE HALL    / MEADOWS CENTER               SM           B          FIELD UNIT OBSERVATION
Dispatch Disposition      Disposition Tags
R                         SUSPENDED/CLOSED

Synopsis
CALL TYPE: CRIMINAL TRESPASS
Non Student issued   a   criminal trespass warning for the property.

Dispatch Notes
CALL TYPE: CRIMINAL TRESPASS
LP HLS9683 2/20/2020 8:52:18 PM
722 was flagged down by a suspicious vehicle while leaving the meadows center 2/20/2020 8:53:13 PM
Mark Watson driver will be issued a criminal trespass warning for the property 2/20/2020 8:57:38 PM

Agency    1                            Initial Investigator
TEXAS STATE UNIVERSITY PD              Talbot, Travis

Offense Codes
30.05(d)(1) CRIMINAL TRESPASS

CassificaUon Completed




Name Type                 Name                                  J.ddress                       Room/Apt
Suspect                   WATSON,MARKJOSEPH                     1334NINTERSTATE35TRLR36        36
City                      State        Zip         DOB                   Sex      Race         EO
ISANMARCOS                TX           78666       04/24/1965              M         WHITE     NON-HISPANIC




                                                                                                                    1/3
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Height      Weight          Hair          Eyes           Class associations
601         236             BRO           BLU            MISCELLANEOUS/CRIMINAL TRESPASS WARNING

Y4tTT1'[er.AvI.]   iii    T1,l




Vehicle
Record Type                  Date Reported               Status                       LIC Plate No        State
SUSPECT VEHICLE              02/20/2020                   SUSPECTVEHICLE              HL59683             TX

Vehicle ID No                             Year            Make            Model       Style      Color
3GTEC23099G199644                         2009            GMC             SIERRA      PICKUP     BLU

Vehicle Classification                                                    Vehicle Owner
MISCELLANEOUS            CRIMINAL TRESPASS WARNING                        WATSON, MARK JOSEPH (Suspect)

Narrative
Written y                    Date Written
Talbot, Travis               02/20/2020

On 2-20-20, I, Travis Talbot badge # 138 was on   duty, wearing my Police uniform and gear to include my
department issued body worn camera and driving fully marked police unit 4040. At approximately 2051 hrs., I was
conducting a security check at the 201 San Marcos Springs Dr. (Meadows Center), when I was flagged down by a
facilities worker, who stated he was driving by and noticed an unknown truck parked by the facilities shed. I
advised dispatch of the truck and began checking the area. At the time of the incident, I did not identify the
facilities worker who flagged me down.

As I began checking the facilities shed on the northeast side of San Marcos Springs Dr., I observed a GMC Sierra
bearing TXLP-HLS9683 to be parked in the grass, just north of the old golf course, just west of the facilities shed. I
observed the truck to be parked off the roadway, on Texas State Property. I observed the truck to be running. Cpl.
 Rodriguez made initial contact with the driver, later identified as Mark Watson, DOB: 4-24-1965. (See Cpl.
 Rodriguezs Supplement)

 As Cpl. Rodriguez was talking with Watson, I remembered that I had made contact with Watson back on 1-4-2020
 for a suspicious person complaint at the Meadows Center. Back on 1-4-20, Watson had been sitting in his truck for
 an extended period of time by the trail just north of the golf course. Watson was identified and released back on
 1-4-20.

 I notified Cpl. Rodriguez about my previous incident with Watson at the Meadows Center. I explained to Watson
 that he could not be on Texas State Property after hours without permission. As I was explaining to Watson that
 Texas State owned the property he was currently on, he became argumentative and advised that we were
 committing a felony, since he had immunity. Watson stated to me that we needed to call a phone number on his
 passport that stated he was immune to any law enforcement actions.

 Due to Watson being on Texas State Property after hours, I issued Watson a verbal criminal trespass warning for
 the Meadows Center and advised him he could not come back to the Meadows Center. Watson was released from
 the scene without incident. I went back         in   service with   a   offense report.

Supplemental Narrative


                                                                                                                     2/3
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Written   By           Date Written
Rodriguez, Michael     02/21/2020

On 02/20/20 at approximately   205lhours, I, Cpl. Rodriguez, Michael #123 dressed   in full UPD uniform and driving a
fully marked patrol unit #4049 assisted OfficerTalbot who was flagged down by a     facilities workerwhile parked at
the Meadow center.
Officer Talbot was notified of a Blue GMC pickup bearing TXLP-HLS9683 that was parked at maintenance shed
across from the Spring lake ha II.

I drove to where the reporting party stated the vehicle was parked. I activated my take down lights
                                                                                                      and Watch
guard body camera as I pulled behind the GMC. I could see the vehicle was    occupied  with one male  who was later
identified to Officer Talbot as Mark Watson. I approached the driver side door and contacted Mark. I asked what he
was doing sitting out here, he stated he was watching the deer. OfficerTalbot came from behind me and stated he
dealt with  Mark back in January for the same issue. Officer Talbot made the decision to issue Mark a verbal CTW
and asked for Mark to leave the area. Mark wanted us to call a number that was on his passport. I stated to
                                                                                                            Mark
that we would not call the number and I had to explain the consequences of the CTW. Mark was not happy of the
out come so Officer Talbot provided Mark a business card and advised he could call the numbers provided on the
card.

We returned to our patrol vehicles and Mark left the area without incident.

Supplemental Narrative
 Written By      Date Written
Arevalo, Arthur        02/21/2020

title code changed from TRESPASSING Trespassing, Government Property to MISCELLANEOUS - Criminal Trespass
Warning.

noi.. aa#134

Case Management
 Initial Investigator Fleport Status            Approved By            Date Approved            Case Status
Talbot, Travis         Approved                 Arevalo, Arthur        02/21/2020 09:28         SUSPENDED/CLOSED


Approval History
 Status           Approved By            Date

 Approved         Arevalo, Arthur        02/21/2020 09 17
 Approved         Arevalo, Arthur        02/21/2020 0928

Investigative History
 Investigator                                   Team Name                                       Date

 Talbot, Travis                                 PATROL                                          02/20/2020 21:10




                                                                                                                        3/3
